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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA — WESTERN DIVISION

ALVYNA HILLMAN, Case No.: 2:21-cv-04217-AB-E

Plaintiff,
ORDER
VS.

BANK OF AMERICA, N.A.
Defendant.

 

 

Pursuant to the stipulation of the Parties, Bank of America, N.A. is dismissed

with prejudice and each party shall bear its own attorneys’ fees and costs.

(nd -—

Hon. André Birotte Jr.
United States District Judge

IT IS SO ORDERED.

DATED: October 7, 2021

 

 

 

ORDER

 

 
